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P.A.R Services, Inc
May 23, 2014

2013 BMW 650i white
VIN # WBA6B4C53 DDO97953

On May May 20" 2014 your company wrongfully repossessed my car from 915 Fairway Drive Vienna, Va
22180. This letter is to inform you I have valuables in the car. Rent monies totaling'$2,525 and a Cartier

watch. Please make sure items are secured.

Sincerely,

Jodi Mahdavi
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